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— UNITED STATES COURT JUDGE

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Vv Case # $5 12 Cr. 868 (NRB)
Lena Lasher
TO THE SECOND DISTRICT SUPERIOR COURT CLERK OF COURTS

Come now before the Honorable Court, Lena Lasher, a Defendant in the above-captioned matter, and makes this
application to the Clerk of Courts for the issuance of a subpoena for the following persons and entities as designated below
that possess the specific documentation that is evidential for the defense of the instant case.

In ‘support of such application, the Defendant states that:

This information will significantly assist as evidence for the proof of the incorrect assertions within the basis of the action
filed with the court. Wherefore, without the subpoena the information is therefore not attainable for the evidential support
needed to affirm the (filed) petition for writ of certiorari and 18 U.S.C. 2255 Motion (to be filed).
Therefore the subpoena should cover an order for the production of:

Albert Buck Unemployment Record whereas he was fired from Hellertown Pharmacy in November 2012.

During my trial, Albert misspoke and told the jurors that he resigned (T. 618, T. 633). However, on November 11, 2012, he
filed/opened a claim with Pennsylvania unemployment, stating that he was fired. On 7/13//15 @ 1:50pm Louisiana time, |, Lena
Lasher, spoke to John, an unemployment officer at Allentown Pennsylvania 888-313-7284 and confirmed that the computer
record/file documented that Albert Buck stated (online and verbally) that he was FIRED from Hellertown Pharmacy. John said
that an attorney or the Court can subpoena the computer file by contacting Attorney Mathew Kegg (disclosure officer) 717-783-
3733.

This computer file is important because it will prove that Buck (falsely) testified against me in retaliation for being fired.

This computer file will prove that he perjured himself at my trial by telling the jurors that he had resigned.
Application for the following parties to receive the subpoena for the order of production of documents are as follows:
Pennsyivania Unemployment Attorney Matthew Kegg or any disclosure officer 717-783-3733

Wherefore, the Defendant/Petitioner prays the issuance of the subpoenas in the application and direct the same to be

served by the proper officer.

Respectfully Submitted,

lomolousher

 

Lena Lasher, Pro-Se Date: June 19, 2017
Register # 67662-054 CCE ONT ~ TY
Federal Correctional Institution ENDO ESEMEN

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